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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

HEALTHY GULF, et al.,
                                                  Case No. 1:23-cv-00604-APM
                     Plaintiffs,

                v.

DEBRA A. HAALAND, et al.,

                     Defendants.



                     ORDER GRANTING BRIEFING SCHEDULE

       Having considered the Parties’ Joint Status Report and Proposed Briefing Schedule, the

Court hereby GRANTS the requested briefing schedule as follows:

 May 15, 2023            Defendants’ response to the complaint;

 June 5, 2023            Defendants serve the administrative record and file index;

 June 20, 2023           Deadline for any motions challenging the completeness of the
                         administrative record;

 If Plaintiffs contend that the administrative record is incomplete, the Parties will confer to
 attempt to resolve the dispute. If Plaintiffs file a motion regarding the record, the summary
 judgment schedule below shall not apply. The Parties will confer and propose a revised
 summary judgment schedule after the record issues have been resolved. If no motions regarding
 the record are filed, the Parties will brief summary judgment according to the schedule below.
 June 20, 2023           Plaintiffs’ motion for summary judgment;

 August 7, 2023          Defendants’ combined opposition to Plaintiffs’ motion for summary
                         judgment and cross-motion for summary judgment;

 August 14, 2023         Proposed Defendant-Intervenors’ combined oppositions to Plaintiffs’
                         motion for summary judgment and cross-motions for summary
                         judgment;
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 September 1, 2023         Plaintiffs’ combined opposition to Defendants’ and Proposed
                           Defendant-Intervenors’ cross-motions for summary judgment and
                           reply in support of motion for summary judgment;

 September 29, 2023        Defendants’ reply in support of cross-motion for summary judgment;

 October 6, 2023           Proposed Defendant-Intervenors’ replies in support of cross-motions
                           for summary judgment;

 October 13, 2023          Plaintiffs file a joint appendix.


       The Parties’ summary judgment briefs will conform to the page limits in LCvR 7 unless

the Court grants permission to deviate from those limits.

       If the Court rules in favor of Plaintiffs on any of their claims on summary judgment, the

Parties will submit a proposed schedule for remedy briefing within seven days of the Court’s

summary judgment ruling.



       IT IS SO ORDERED.
                                              Amit Digitally          signed
                                                             by Amit Mehta


Dated: _____________
                                              Mehta          Date: 2023.05.07
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                                              ________________________________
                                              THE HONORABLE AMIT P. MEHTA
                                              UNITED STATES DISTRICT JUDGE




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